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                                                  U.S. Department of Justice

                                                  United States Attorney
                                                  Southern District of New York


                                                  The Silvio J. Mollo Building
                                                  One Saint Andrew’s Plaza
                                                  New York, New York 10007


                                                  December 13, 2019

BY ECF

The Honorable Vernon S. Broderick                                12/20/2019
United States District Judge                        The Fatico hearing is scheduled for March 3, 2020 at 10:00 a.m.
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Michael Mendlowitz, S2 17 Cr. 248 (VSB)

Dear Judge Broderick:

       The Government writes on behalf of the parties to propose potential dates for a Fatico
hearing in this case.

       The Government proposes a date during the weeks of January 27 or February 3, 2020.

       The defendant proposes a date during the week of March 2, 2020.

                                                  Respectfully submitted,


                                                  GEOFFREY S. BERMAN
                                                  United States Attorney

                                           By:               /s/                            l
                                                  David Abramowicz
                                                  Jilan J. Kamal
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Cc:    Smith Villazor, LLP, Counsel for Michael Mendlowitz (via ECF)
